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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
  UNITED STATES OF AMERICA,                 )
                                            )
           Plaintiff,                       )
                                            )
  v.
                                            )       CIVIL ACTION FILE
  STATE OF GEORGIA,                         )       NO. 1:16-CV-03088-ELR
                                            )
           Defendant.                       )

                  JOINT NOTICE OF OUTCOME OF MEDIATION


       NOW COME Plaintiff United States of America (“United States”) and

Defendant State of Georgia (“State”), pursuant to the Court’s August 16, 2024 Order

[Doc. Nos. 496 and 499] (the “August 16 Order” or “Order”), and hereby file this

Joint Notice of Outcome of Mediation.

       Pursuant to the August 16 Order, this Court referred the parties to attend

mediation. The parties mediated before Hon. Magistrate Judge Regina D. Cannon on

November 21, 2024. At the conclusion of those proceedings, Magistrate Judge

Cannon made the following entry:

         Settlement Conference held. The parties were not able to reach a settlement
         agreement. Judge Cannon is terminated as the settlement judge.

         Hearing Concluded.

Doc. No. 508.

       The Court’s August 16 Order provides that, at the conclusion of the settlement
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conference, if unsuccessful, the parties are to jointly file a notice informing the Court

of the outcome of their mediation. Accordingly, the parties jointly file this notice

advising the Court that mediation is unsuccessful.

      Respectfully submitted this 27th day of November 2024.

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                         L.R. 7.1(D) CERTIFICATION

      I certify that this Motion has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C). Specifically, this Notice

has been prepared using 14-pt Times New Roman Font.


                                      /s/ Frances S. Cohen
                                      Frances S. Cohen
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing document

with the Clerk of Court using the CM/ECF system, which will automatically send

counsel of record e-mail notification of such filing.

      This 27th day of November, 2024.


                                       /s/ Frances S. Cohen
                                       Frances S. Cohen
